
                                                                    



















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-04-334-CV





IN THE INTEREST OF J.E.H., A CHILD	





------------

FROM THE 322ND
 
DISTRICT COURT OF TARRANT COUNTY

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MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

----------

We have considered “Appellant’s Motion To Dismiss The Appeal.” &nbsp;It is the court's opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See 
T
EX.
 R. A
PP.
 P. 42.1(a)(1), 43.2(f).

Appellant shall pay all costs of this appeal, for which let execution issue.



PER CURIAM	



PANEL D:	WALKER, J.; CAYCE, C.J.; and MCCOY, J.



DELIVERED: December 23, 2004

FOOTNOTES
1:See 
Tex. R. App. P. 47.4.




